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                             Taylor Cheeseman
                              November 27, 2018




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      1    September or late August.

      2          Q.    And are you asking for sufficient

      3    funding to meet the requirements of Olivia Y. with

      4    regard to caseloads in that budget?

      5          A.    Yes, I believe so.

      6          Q.    So you are try- -- you are seeking to

      7    implement the RHR for 2020?

      8          A.    Until we are relieved of that caseload

      9    obligation, we are seeking sufficient funding to

     10    comply with it.

     11          Q.    Okay.     I'd like to call your attention

     12    to another document, which we will mark as

     13    Exhibit 6.

     14                (Exhibit 6 marked for identification.)

     15          Q.    (By Ms. Lowry)      And I'd like to ask you

     16    if you can identify this document?            And I call

     17    your attention to section 4, which is on Page 2 of

     18    the document.

     19          A.    (Examining.)

     20          Q.    Okay.     So now you've looked at this, and

     21    the section 4 says -- and this is House Bill 1600,

     22    and this is for fiscal -- appropriation for fiscal

     23    2019.

     24                And this says, "In the funds

     25    appropriated under the provisions of section 1 of




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